      Case 19-42886   Doc 66   Filed 11/02/19   Entered 11/02/19 23:44:04
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                                                                                  Signed on 10/31/2019

                                                                                                                              SR
                                                                     HONORABLE BRENDA T. RHOADES,
                                                                     UNITED STATES BANKRUPTCY JUDGE
              Case 19-42886    Doc 66   Filed 11/02/19   Entered 11/02/19 23:44:04   Desc Imaged Certificate of Notice   Page 2 of 2

                                               United States Bankruptcy Court
                                                 Eastern District of Texas
In re:                                                                                                        Case No. 19-42886-btr
Zenergy Brands, Inc.                                                                                          Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0540-4                  User: shannonk                      Page 1 of 1                            Date Rcvd: Oct 31, 2019
                                      Form ID: pdf400                     Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 02, 2019.
db             +Zenergy Brands, Inc.,    5700 Granite Pkwy.,    Suite 200,    Plano, TX 75024-6623
cr              Alex Rodriguez,    6459 Village Springs Dr.,    Plano, TX 75024
cr             +Ashley Steffan,    3313 Rolling Hills,    Flower Mound, TX 75022-6812
cr              Bellridge Capital,    515 E. Las Blvd., #120A,     Fort Lauderdale, FL 33301
cr            #+Byron Young,    8616 Heron Dr.,   Fort Worth, TX 76108-9721
cr             +Clifton Larson Allen,    9901 I-10, Ste. 350,    San Antonio, TX 78230-2252
cr             +Collision Capital,    4830 W. Kennedy Blvd., #600,     Tampa, FL 33609-2584
cr             +EMA Financial, LLC,    40 Wall St.,    New York, NY 10005-1304
cr             +Free and Free Enterprises, LLC,     PO Box 201786,    Arlington, TX 76006-1786
cr              Genaro Gomez Castanares,    5868A Westgeuner Rd.,     Ste. 1-422,   Houston, TX 77057
cr             +Greentree Financial Group, Inc.,     19720 Jetton Rd. 3rd Fl.,    Cornelius, NC 28031-8263
cr             +Jason Grant Magers,    2109 Wheaton Dr.,    Richardson, TX 75081-2655
cr             +Legal and Compliance LLC,    625 N. Flagler Dr. #600,     West Palm Beach, FL 33401-4025
cr             +Liberty Trust Co.,    Custodian: FBO Michael A. Ziegler, IRA,     1611 Maxwell Ct.,
                 Euless, TX 76039-2400
cr             +Luminant Energy,    6555 Sierra Dr.,    Irving, TX 75039-2479
cr             +Powerup Lending,    111 Great Neck Rd., #216,    Great Neck, NY 11021-5408
cr             +RB Capital Partners, Inc.,    2856 Torrey Pines Rd.,     LaJolla, CA 92037-3428
cr             +Sharing Services, Inc. et al,    1700 Coit Rd., Ste. 100,     Plano, TX 75075-6185
cr             +TCA Global Credit Master Fund, L.P.,     c/o Bradley S. Shraiberg, Esq.,
                 Shraiberg, Landau & Page, P.A.,     2385 NW Executive Center Dr., #300,
                 Boca Raton, FL 33431-8530
cr              Viridian Internantional,    1055 Washington Blvd., 7th Fl.,     West Hartland, CT 06091
cr             +Vista Capital Investments,    406 9th Ave., Ste. 201,     San Diego, CA 92101-7277

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: AR@mcggroup.com Nov 01 2019 02:55:02     Montgomery Coscia Greilich, LLP,
                 2500 Dallas Parkway,   Suite 300,   Plano, TX 75093-4872
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                                    TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 02, 2019                                              Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 31, 2019 at the address(es) listed below:
              Bradley S. Shraiberg    on behalf of Creditor   TCA Global Credit Master Fund, L.P. bss@slp.law,
               dwoodall@slp.law
              Jack G. Haake    on behalf of Debtor   Zenergy Brands, Inc. jhaake@foley.com, dnichols@foley.com
              Marcus Helt     on behalf of Debtor   Zenergy Brands, Inc. mhelt@foley.com, acordero@foley.com
              US Trustee    USTPRegion06.TY.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
